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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.:


  ERAN FINANCIAL SERVICES, LLC, a
  Florida limited liability company

                 Plaintiff,

  vs.

  ERAN INDUSTRIES LTD, a Hong Kong
  entity; ERAN INDUSTRIES LIMITED, a Belize
  entity; NINGBO MORELUX IMPORT
  EXPORT CO. LTD., a Chinese entity;
  NINGBO MORELUX LIGHTING MFG. LTD.,
  a Chinese entity; and NINGBO MORELUX POLE
  TECHNOLOGY CO. LTD., a Chinese entity,

                 Defendants.

  ___________________________________________/

                                           COMPLAINT

         Eran Financial Services, LLC (“EFS”) hereby sues Eran Industries LTD [Hong

  Kong]”(“EI”), Eran Industries Limited [Belize] (“EI Belize”), Ningbo Morelux Import Export Co.

  Ltd., Ningbo Morelux Lighting Mfg. Ltd., Ningbo Morelux Pole Technology Co. Ltd., (the

  Morelux entities d/b/a “Morelux,” with EI, and EI Belize, the “Defendants”) and alleges as

  follows:

                                   COMMON ALLEGATIONS

         1.      Boca Raton-based EFS contracted with Defendant EI, a Chinese manufacturer, to

  manufacture EFS’s products – primarily industrial lighting and fans. The parties’ agreement

  explicitly prohibits EI from, directly or indirectly, soliciting EFS’s customers, selling to EFS’s

  customers or competing with EFS. Notwithstanding, EI, directly and through its alter ego



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  companies, Morelux and EI Belize, is ignoring this agreement, refusing to supply EFS and instead

  is openly soliciting EFS’s customers for their direct business, while keeping control of EFS’s

  unique, proprietary and expensive tooling in China. Simply put, the Defendants are engaged in a

  coordinated campaign to undermine EFS and steal its customers, hoping that the ocean separating

  the companies will shield the Defendants from any consequences for their flagrantly unlawful

  actions. This has caused EFS grave damage, effectively forcing its business to a screeching halt.

         2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(2)

  because this action is between citizens of a foreign state and a citizen of this state, with an amount

  in controversy in excess of $75,000, exclusive of interest and costs. Further, EFS and EI have

  expressly agreed to this Court’s jurisdiction in the underlying agreement between the parties,

  which states that all disputes “arising out of . . . this Agreement . . . [s]hall be resolved only by

  State or Federal courts located in the city of Palm Beach located in the State of Florida.” This

  Court also has jurisdiction over Morelux and EI Belize under the alter ego theory of long-arm

  jurisdiction, as set forth further below. Additionally, Defendants’ common principal, Ye Zeng Hui

  (“Ye”), and at least one key employee of Defendants, Machine Qian, visited South Florida on

  numerous occasions to work with the EFS team in Boca Raton.

         3.      EFS is a Florida limited liability company with its principal place of business in

  Boca Raton, Florida.

         4.      EI and Morelux are, upon information and belief, Hong Kong entities, with their

  principal place of business in Ningbo, China.

         5.      EI Belize is, upon information and belief, a Belize entity with its principal place of

  business in Ningbo, China.

         6.      All conditions precedent to bringing this action have been performed or waived.



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         7.      EFS retained the undersigned counsel in this action and is required to pay counsel

  a reasonable fee for their services.

                                     FACTUAL ALLEGATIONS

         8.      EFS is based in Boca Raton, Florida and specializes in the design, engineering,

  tooling, production, and financial services for lighting products, ceiling fans, and industrial

  components. For over 20 years EFS has worked with EI to manufacture, assemble and source

  products for EFS from China, which in turn EFS sells to its customers in the United States.

         9.      EI is in the business of sourcing, manufacturing, assembling and distributing

  products and components, including lighting products and components.

         10.     EI operates through a series of alter ego entities, including but not limited to

  Morelux and EI Belize.

         11.     Upon information and belief, EI dominates and controls Morelux and EI Belize to

  such an extent that their independence is non-existent. For example, upon information and belief,

  EI, Morelux, and EI Belize are all, beneficially owned by Ye Zeng Hui (“Ye”), controlled by Ye,

  have comingled finances, shared employees, shared office space, shared letterhead, email

  addresses, and more. For example, the letter Defendants sent to EFS’s customers, as detailed and

  pictured below, was sent using a letterhead of both EI and Morelux, listing only one address, one

  email, and one phone number, and the body of the letter states “We EI Industries thanks you very

  much…” The companies operate as one and the same – all controlled by Ye.

         12.     Additionally, EI used Morelux and EI Belize for the fraudulent or improper

  purposes of stealing EFS’s customers, disrupting EFS’s business, soliciting and intimidating EFS’s

  employees, and defaming EFS, which are all discussed in further detail below.




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         13.     On July 26, 2011, EFS and EI entered into the Supply and Services Agreement (the

  “Agreement”), which required EI to manufacture, source and supply products for EFS. The

  Agreement anticipated that EFS would make periodic orders, and it set forth a procedure for EI to

  process such orders. A true and correct copy of the Agreement is attached as Exhibit A.

         14.     The Agreement was to continue through December 31, 2021 (“Term”). Under

  section 8.1 of the Agreement, EI agreed, inter alia, not to compete with EFS, not to solicit EFS’s

  customers, and not to sell to EFS’s customers during the Term of the Agreement and for a period

  of 24 months thereafter:




          15.   Because EFS trusted EI with confidential information about EFS’s customers, along

  with EFS’s proprietary tooling, and more—effectively entrusting EI with the Chinese side of

  EFS’s business—EFS required EI to sign broad restrictive covenants found in the underlying

  Agreement. Absent these restrictive covenants, EFS would never have done business with EI.

         16.    When Defendants became concerned that EFS was planning on expanding its

  manufacturing to include facilities in countries outside of China, Defendants began a campaign to

  destroy EFS’s business by contacting EFS’s customers, making false statements about EFS,


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  soliciting EFS’s customers for the sale of identical products, and soliciting and intimidating EFS’s

  employees all while holding EFS’s proprietary tooling hostage and preventing any of EI’s sub-

  suppliers from providing EFS with any of its products.

         17.    More specifically, on April 25, 2021, Defendants sent each of EFS’s customers an

  identical letter, seeking to sell them EFS’s products “directly” while explicitly cutting out EFS.

  Below is one of the April 25, 2021 letters sent by Defendants:




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         18.     The letter – sent by Ye on combined Morelux and EI letterhead – falsely states that

  “EFS’s current financial status cannot support any of the on-going projects.” And, in a brazen

  violation of section 8.1 of the Agreement, Defendants admit:

         -     “EI team is looking forward to doing DIRECT business with your company, and EI
               will offer best price, quality and service to you.” (Emphasis in original)

  A copy of Defendants’ April 25, 2021 letters to EFS’s customers, of which EFS has received

  copies, are attached as Composite Exhibit B.

         19.     Defendants’ statements regarding EFS’s financial status are false and defamatory,

  and tortiously interfere with EFS’s business relationships.

         20.     Defendants’ solicitation of direct business with EFS’s customers violates their non-

  solicitation obligations under section 8.1 of the Agreement.

         21.     As part of their solicitation of business with EFS’s customers, Defendants have

  issued and distributed a 2021 Catalog under the Morelux brand name offering EFS’s products for

  sale to EFS’s customers, replete with EFS’s model numbers. A copy of the 2021 Morelux brochure

  is attached as Exhibit C.

         22.     Additionally, Section 3 of the Agreement clearly states that “All Products to be sold

  to [EFS] by Manufacturer shall be sold for one hundred and ten percent (110%) of the

  Manufacturer’s total cost, unless otherwise agreed in writing.”

         23.     Upon information and belief, Defendants have been deliberately and grossly

  overcharging EFS for its products under the Agreement, and obfuscating the numbers by

  continually refusing to provide records or accounting of its costs despite Defendants’ obligation to

  permit EFS to inspect its books and records under section 7.2 of the Agreement.




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                              COUNT I- BREACH OF CONTRACT

         24.    EFS realleges and incorporates by reference the allegations of paragraphs 1 through

  24 above as though fully set forth herein.

         25.    On July 26, 2011, EFS and EI entered the Agreement, which requires EI, inter alia,

  to source and manufacture certain products for EFS, and bars EI from competing with EFS or

  soliciting its customers during the Term of the Agreement and for 24 months thereafter.

         26.    EI operated through a series of alter ego entities, Morelux and EI Belize, which it

  completely dominated and controlled, and which EI used in an attempt to improperly circumvent

  EI’s obligations under the Agreement, and cause damages to EFS.

         27.    EI, acting directly and through its alter egos Morelux and EI Belize, materially

  breached the Agreement by, inter alia, soliciting EFS’s customers by sending correspondence to

  EFS’s customers, seeking to cut out EFS and sell EFS’s products directly to EFS’s customers –

  during the term of the Agreement. See Ex. B.

         28.    Because of the Defendants’ breaches of the Agreement, EFS is suffering grave

  injury to its business, business relationships, contractual relationships, and reputation. In fact,

  because Defendants control a significant portion of EFS’s supply chain, including but not limited

  to the relationships with Chinese sub-suppliers who manufacture necessary components for EFS’s

  products, as well as having physical possession of EFS’s proprietary tooling that is required to

  manufacture many of EFS’s products, Defendants’ conduct is causing EFS catastrophic damages.

  More specifically, by refusing to provide products ordered by EFS’s customers to EFS, while

  holding the proprietary tooling required to make EFS’s products, it is effectively impossible for

  EFS to manufacture its own products elsewhere in a timely fashion to satisfy the outstanding orders

  from its customers.



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         29.    Section 8.2 of the Agreement allows for specific performance and for the accounting

  of all profits earned by Defendants’ breach of the Agreement’s non-competition and non-

  solicitation provision:




  See Ex. A at ¶ 8.2.

         30.    The Court’s enforcement of the restrictive covenant in the Agreement would protect

  EFS’s legitimate business interests, including but not limited to its substantial relationships with

  specific existing customers, customer goodwill associated with lighting fixtures and related

  products, as well as EFS’s valuable confidential business information.




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         31.    The contractually specified period of restraint – the time of the contract and twenty-

  four (24) months thereafter – is reasonably necessary to protect the afore-stated legitimate business

  interests. In fact, Defendants’ conduct commenced during the term of the Agreement.

         32.    Additionally, Section 3 of the Agreement clearly states that “All Products to be sold

  to [EFS] by Manufacturer shall be sold for one hundred and ten percent (110%) of the

  Manufacturer’s total cost, unless otherwise agreed in writing.”

         33.    Upon information and belief, Defendant EI has been deliberately and grossly

  overcharging EFS for its products under the Agreement.

         34.    Section 8.5 of the Agreement also expressly allows for monetary damages and

  injunctive relief to stop any continued breach of the Agreement.

         35.    EFS does not have a clear remedy at law to stop EI and Morelux’s continued

  breaches of the Agreement, and EFS will suffer additional harm if injunctive relief is not provided.

         36.    EFS is entitled to recover its reasonable costs and attorneys’ fees pursuant to Section

  13.3 of the Agreement.

         WHEREFORE, EFS respectfully requests that the Court issue a judgment against

  Defendants for damages to remedy prior harm, preliminary and permanent injunctive relief to

  prevent future harm, an accounting of all Benefits derived or received by Defendants as the result

  of all transactions constituting a breach of the Agreement, pre and post judgment interest,

  attorney’s fees and costs pursuant to Sections 12.1 and 13.3 of the Agreement, and for such other

  relief as the Court deems just, proper, and equitable.




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                     COUNT II COMMON LAW UNFAIR COMPETITION

        Plaintiff realleges and incorporates by reference the allegations of paragraphs 1 through 24,

  inclusive, as though fully set forth herein.

         42.     EFS advertises, markets, and sells its lighting products under the Eran Industrial

  mark. The Eran Industrial mark is the means by which EFS’s products are distinguished from

  those of others in the same or related fields.

         43.     Defendant EI’s conduct as described herein, directly and through the use of it’s alter

  ego entities EI Belize and Morelux, is deceptive or fraudulent and will likely cause consumer

  confusion.

         44.     More specifically, Defendants use of EFS’s customer information, proprietary

  tooling, and marketing materials, without EFS’s consent, and marketing EFS’s lighting products,

  as their own, to EFS’s customers unfairly competes with EFS for the exact same pool of customers.

         45.     Defendants’ conduct, described herein, is likely to cause confusion, mistake or

  deception by or in the public as to the affiliation, connection, association, origin, sponsorship or

  approval of the goods to the detriment of Plaintiff and in violation of the common law of unfair

  competition.

         46.     Upon information and belief, Defendants’ wrongful conduct is likely to continue

  unless restrained and enjoined.

         47.     Defendants’ conduct is causing Plaintiff grave damages.

         WHEREFORE, Plaintiff seeks temporary and permanent injunctive relief, and damages in

  an amount to be proven at trial, attorneys’ fees and costs, disgorgement of any and all gains, profits

  and advantages derived from Defendants’ unlawful activities, and such other relief as the Court

  deems just and proper.



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                                  DEMAND FOR JURY TRIAL

        EFS demands trial by jury on all issues so triable.

        Dated: August 9th 2021.

                                                      Respectfully submitted,

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